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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - -         x
                                          :
UNITED STATES OF AMERICA                           PROTECTIVE ORDER
                                          :
                                                   18 Cr. 640 (RA)
        - v. –                            :

                                          :
ISAAC CONCEPCION AQUINO,
     a/k/a “Kaka,”
                                          :
MARIO DIAZ,
     a/k/a “Memin,”
                                          :
TOMAS GUILLEN,
     a/k/a “Diddy,”
                                          :
RONNIE DE LEON,
JOSE ARGELIS DIAZ,
                                          :
JOEL PENA,
JHONATAN DIAZ,
                                          :
     a/k/a “Nino,”
EDDY MORROBEL,
                                          :
RUDDY SANCHEZ,
MICHAEL ROQUE,
                                          :
RAYNIEL ROBLES,
RONNY REYES,
                                          :
     a/k/a “Edwin Hernandez,”
CESAR SANTANA, and
                                          :
JOANDRA TEJADA GONZALEZ,
                                          :
                      Defendants.
                                          :

                                          x
- - - - - - - - - - - - - - - - -
THE HONORABLE RONNIE ABRAMS, District Judge:

           WHEREAS the United States of America intends to produce

to the defendants in the above-captioned matter in unredacted form

certain documents pursuant to Rule 16 of the Federal Rules of Criminal

Procedure that may contain personal identifying information and/or

other information relating to and identifying victims of the crimes
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alleged in the Indictment and/or the targets of ongoing governmental

investigations; and

           WHEREAS pursuant to Rule 16(d)(1) and Title 18, United

States Code, Section 3771, the Government desires to protect the

confidentiality of the above-referenced materials, and for good

cause shown;

           IT IS HEREBY ORDERED:

           1.    Discovery materials produced by the Government to the

defendants and their counsel (collectively, ”the defense”) that are

either (1) designated in whole or in part as “Confidential” by the

Government in emails or communications to defense counsel, or

(2) that include a Bates or other label stating “Confidential,” shall

be deemed “Confidential Material.”

           2.    Confidential     Material    disclosed    to   the   defense

during the course of proceedings in this action:

                  (a)   shall be used by the defense only for purposes

of this action;

                  (b)   shall be maintained in a safe and secure manner

solely by the defendants’ counsel; shall not be possessed by the

defendants, except in the presence of the defendants’ counsel; and

shall not be disclosed in any form by the defense except as set forth

in paragraph 2(d) below;

                 (c)    shall not be copied or otherwise recorded by the

defense, but may be loaded onto secure databases or file-sharing
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systems used by defendants’ counsel to review discovery;

                  (d)     may be disclosed only by the defendants’ counsel

and   only   to   the     following   persons      (hereinafter   “Designated

Persons”):

                    (i)        secretarial,         clerical,      paralegal,

                               investigative, and student personnel, or

                               any interpreter or translator, employed

                               full-time or part-time by the defendants’

                               counsel;

                    (ii)       independent           expert        witnesses,

                               investigators, or advisors retained by the

                               defendants     or     on   their   behalf   in

                               connection with this action;

                    (iii)      prospective witnesses, and their counsel,

                               to the extent deemed necessary by defense

                               counsel, for trial preparation; and

                        (iv)   such other persons as hereafter may be

                               authorized by the Government or by order

                               issued by the Court upon a motion by the

                               defendants; and

                  (e) shall be either (i) returned to the Government

following the conclusion of this case, including any appeals, within

30 days of the conclusion of the appeal, or of the expiration of the

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period for direct appeal from any verdict in the case; the period

of direct appeal from any order dismissing any of the charges in the

case; or the granting of any motion made on behalf of the Government

dismissing any charges in the above-captioned case, whichever date

is later, together with any and all copies thereof; (ii) destroyed

together with any and all copies thereof, with defendants’ counsel

verifying in writing to the Government that such destruction has

taken place; or (iii) maintained by defendants’ counsel as required

by counsel’s duties and responsibilities as counsel, as the case may

be, provided that defendants’ counsel maintain the Confidential

Information in accordance with Paragraph 2(b).

           3.    The defendants and their counsel shall provide a copy

of this Order to Designated Persons to whom Confidential Material

is disclosed pursuant to paragraph 2(d).         Designated Persons shall

be subject to the terms of this Order.

           4.    The provisions of this Order shall not be construed

as preventing the disclosure of any information in any motion,

hearing, trial, or sentencing proceeding held in this action, or any

appeal therefrom, or to any judge or magistrate of this Court for

purposes of this action, or any appeal therefrom.




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            5.   With    respect    to       Confidential    Information,   any

filings with any court shall be governed by Rule 49.1 of the Federal

Rules of Criminal Procedure.

            6.   This   Order     may    be    signed   in   counterparts   and

transmitted by facsimile and/or electronic copy, each of which

counterparts will be deemed to be an original and which taken together

will constitute the Order.

            7.   The provisions of this order shall not terminate at

the conclusion of this criminal prosecution and the Court will retain

jurisdiction to enforce this Order following termination of the case.

            8.   Nothing in this Order shall preclude or otherwise

prejudice    defense    counsel    from       challenging    the   government’s

designation of any material as Confidential and seeking the Court’s

permission to treat such material as if it had not been so designated.

While any such application is pending with the Court, defense counsel

will continue to treat the material at issue as Confidential under

the terms of this Order.


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Dated:    New York, New York
          January 9, 2021


AGREED AND CONSENTED TO:

                                  AUDREY STRAUSS
                                  ACTING UNITED STATES ATTORNEY

                            By:
                                  ___________________________
                                  Michael D. Neff / Brett M. Kalikow
                                  Assistant United States Attorneys


                                  ___________________________
                                  Patrick J. Brackley, Esq.
                                  Counsel for RUDDY SANCHEZ

SO ORDERED:

Dated:    New York, New York
                   12
          January ____, 2021



                                  ___________________________
                                  THE HONORABLE RONNIE ABRAMS
                                  UNITED STATES DISTRICT JUDGE
                                  SOUTHERN DISTRICT OF NEW YORK




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